      Case 2:20-cv-00470-GMS Document 195 Filed 04/22/22 Page 1 of 3



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Meta Platforms, Inc., et al.,                     No. CV-20-00470-PHX-GMS
10                  Plaintiffs,                        ORDER
11   v.
12   Namecheap Incorporated, et al.,
13               Defendants.
14   WhoisGuard, Inc.,
15                         Counterclaimant,
16   v.
17   Meta Platforms, Inc.,
18                         Counterclaim
                           Defendant.
19
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21
22          Before the Court is Plaintiffs’ Unopposed Motion to Transfer Domain Names to
23   Plaintiffs (Doc. 192). For the following reasons, Plaintiffs’ motion is granted.
24          Earlier in the litigation, Defendant Namecheap, Inc. (“Namecheap”) lodged 1,241
25   domain names under the dominion and control of the Court.                  See 15 U.S.C.
26   § 1125(d)(2)(D)(i)(I) (requiring the “expeditious[] deposit with the court [of] documents
27   sufficient to establish the court’s control and authority regarding the disposition of the
28   registration and use of the domain name” in a cybersquatting action seeking forfeiture,
      Case 2:20-cv-00470-GMS Document 195 Filed 04/22/22 Page 2 of 3



 1   cancellation, or transfer of an infringing domain name); (Docs. 133, 135.) Plaintiffs now
 2   move for the Court to order the transfer of a subset of these domain names from Namecheap
 3   to Plaintiffs. (Doc. 192 at 3); see 15 U.S.C. § 1125(d)(1)(C) (“In any civil action involving
 4   the registration, trafficking, or use of a domain name under this paragraph, a court may
 5   order the forfeiture or cancellation of the domain name or the transfer of the domain name
 6   to the owner of the mark.”). The domain names in question are listed in Appendix A to
 7   this Order. Defendants do not oppose Plaintiffs’ motion.
 8          Good cause appearing,
 9          IT IS ORDERED that Plaintiffs’ Unopposed Motion to Transfer Domain Names
10   to Plaintiffs (Doc. 192) is GRANTED.
11          IT IS FURTHER ORDERED that all domain names at issue in this case are
12   RELEASED from the Court’s control and authority, pursuant to 15 U.S.C.
13   § 1125(d)(2)(D)(i)(I).
14          IT IS FURTHER ORDERED that Defendant Namecheap, Inc. will take all
15   necessary steps to transfer the domain names listed in Appendix A to Plaintiffs.
16          Dated this 22nd day of April, 2022.
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     Case 2:20-cv-00470-GMS Document 195 Filed 04/22/22 Page 3 of 3



 1                                   APPENDIX A
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 3         buy-instagram-follower.com        instagrambo.com
           buyinstagramfollowers.biz         instagramfollowers.party
 4         buyinstagramlikes.io              instagramfollowersfree.net
           captionforfacebook.com            instagram-lux.com
 5
           coolwhatsappstatus.com            instagrammarketingonline.com
 6         faccebook.xyz                     instagramstopmodel.com
           facebookables.com                 instagramviral.com
 7
           facebookaduniversity.com          instagrom.org
 8         facebookartist.com                instergram.net
           facebookfilms.com                 instqagram.com
 9         facebookipodayclosingprice.com    instwgram.com
10         facebookmessengerspy.com          phanmemfacebook.info
           fecbook.xyz                       phanmeminstagram.com
11         freefacebookspy.com               scheduleinstagrampostsfree.com
12         freeinstagramfollowers.website    secured-lnstagram.com
           hafacebook.com                    sexywhatsapp.adult
13         hainstagram.com                   tehfaceb00k.com
14         hamwhatsapp.com                   uninstagrammable.com
           ibnstagram.com                    uzfacebook.com
15         ihstagram.com                     whatsappgb.download
16         ijnstagram.com                    whatsappme.info
           imnstagram.com                    whatsappnumbersza.com
17         indstagram.com                    whatsappp.net
           inestagram.com                    whatsappsex.club
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           insrtagram.com                    whatsdog-whatsapp.com
19         instabgram.com                    whatsmobileapp.com
           instabram.com                     whatspp.net
20         instafgram.com                    whattsapp.net
21         instagfam.com                     whtsapp.net
           instagr.me                        xn--fcebok-pta1m.com
22         instagramaphone.com
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